      Case 4:19-cv-00370-P Document 16 Filed 02/18/20           Page 1 of 6 PageID 104



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 SHONDRA WILLIAMS,                            §
      Plaintiff,                              §
                                              §
                                              §
 v.                                           §            CIVIL ACTION NO. 4:19-cv-370
                                              §
 THE KROGER CO.,                              §
       Defendant.                             §


                      DEFENDANT'S SWORN RESPONSE TO THE COURT'S
                                ORDER TO SHOW CAUSE


         Defendant The Kroger Co. files this Sworn Response to the Court's Order to Show Cause

(Doc. 14}:

                                        I.
             DEFENDANT'S COMPLIANCE WITH THE COURT'S ORDER REGARDING
                          DEFENDANT'S MOTION TO COMPEL

        Defendant filed its Motion to Compel on January 28, 2020 (Doc. 12}. In response, the

Court issued its Order Regarding Defendant's Motion to Compel on January 29, 2020 (Doc. 13}.

        Following receipt of that Order, and to comply with same, counsel for Defendant made

numerous attempts to contact Plaintiff's counsel to discuss the outstanding discovery dispute.

Specifically, Counsel for Defendant, Hope Miranda, attempted to contact Plaintiff's Counsel by

phone on January 29, 2020, and January 31, 2020, each time receiving no answer and no return

call. Ms. Miranda again attempted to contact Plaintiff's Counsel by phone on February 4, 2020,

again receiving no answer and no return call. Ms. Miranda then sent an email to Plaintiff's

Counsel on February 4, 2020, requesting that Plaintiff's Counsel confer regarding the Court's




                                             - 1-
    Case 4:19-cv-00370-P Document 16 Filed 02/18/20                             Page 2 of 6 PageID 105



Order Regarding Defendant's Motion to Compel (Doc. 13). 1 When no responsive email was

received, Ms. Miranda again attempted to contact Plaintiff's Counsel by phone on February 6,

2020 and February 7, 2020, yet again receiving no answer and no return call.

          Defendant's understanding of the Court's Order Regarding Defendant's Motion to

Compel (Doc. 13) is that Defendant was only required to file additional or amended documents

with the Court no later than February 7, 2020, under two circumstances: (1) if the discovery

dispute had been resolved completely; or (2) if the discovery dispute had been only partially

resolved. In this case, nothing had been resolved because all of Defendant's Counsel's attempts

to communicate with Plaintiff's Counsel had been unsuccessful and gone unanswered. Therefore,

all the discovery issues outlined in Defendant's Motion to Compel (Doc. 12) remained

outstanding and unresolved. It was Defendant's understanding that if none of the discovery

disputes had been resolved, Plaintiff had a duty to respond to Defendant's Motion to Compel no

later than February 10, 2020. Defendant then would have the opportunity to file its reply to any

response filed by Plaintiff. Plaintiff failed to file a response .

          In its Order to Show Cause (Doc. 14), the Court expressed concern that neither party

submitted additional information in response to the Court's Order Regarding Defendant's Motion

to Compel (Doc. 13). Defendant assures the Court that it has never sought to disregard any order

issued by the Court. Defendant represents that the only reason no additional documentation was

filed by Defendant in response to the Order Regarding Defendant's Motion to Compel (Doc. 13)

was because it believed that no response was required on its part since none of the discovery




   1
       See Email dated February 4, 2020, a true and correct copy of which is attached hereto as Exhibit A.



                                                        -2-
    Case 4:19-cv-00370-P Document 16 Filed 02/18/20                             Page 3 of 6 PageID 106



disputes had been resolved and its initial motion still applied in its entirety. For that same reason,

Defendant would request it not be sanctioned because Defendant did not intentionally disregard

the Court's Order, but instead, attempted to fully comply based on its understanding of the plain

text ofthat Order (Doc. 13}.

                                                         II.
                                  UPDATE ON CURRENT STATUS OF CASE

         Defendant removed this case to this Court on May 2, 2019. The Parties filed their Joint

Report on June 4, 2019. Defendant then served its Initial Disclosures on July 30, 2019. Plaintiff

never served her Initial Disclosures. Defendant then served discovery requests to Plaintiff on

August 6, 2019. Plaintifffailed to timely respond. Defendant attempted to follow up on its written

discovery and to depose Plaintiff by seeking dates of availability for such deposition on at least

twenty separate occasions, without success. Each time, Plaintiff's counsel failed to respond to

Defendant's correspondence or attempts to communicate by phone.

         Defendant, after repeatedly attempting to resolve the discovery disputes without Court

'
·intervention, filed its Motion to Compel. Currently, Defendant has received no information from

Plaintiff regarding her claims and alleged damages, other than that which is outlined in her

Original Petition. Defendant believes it has made a good faith effort to conduct discovery, gather

information and attempt to progress this litigation while at the same time refraining from

violating any ethical rules regarding communication with Plaintiff in light of the fact that she was

still represented by counsel. 2




    2
      Plaintiff's counsel represented to Defendant's counsel in September 2019 that he would be withdrawing from
the case. However, Plaintiff's counsel never took any further action until he finally filed his Motion to Withdraw on
February 18, 2020.



                                                        -3-
    Case 4:19-cv-00370-P Document 16 Filed 02/18/20                             Page 4 of 6 PageID 107


          Defendant has also communicated with the court-appointed mediator to schedule

mediation so as to comply with this Court's Order (Doc. 11) regarding mediation, which requires

the Parties to mediate by April 22, 2020. No response regarding available dates has been received

from Plaintiff's counsel to date. 3

                                                 Ill.
                               DEFENDANT'S COUNSEL'S COMPLIANCE WITH
                                  THE COURT'S ORDER TO SHOW CAUSE

          Pursuant to the Court's Order to Show Cause, Defendant's Counsel of record attach

hereto (as Exhibit B) their sworn affidavits certifying that, pursuant to the Court's Order, they

have read, understand and will comply with:

              a. Dondi Properties Corp. v. Commerce Savings & Loan Assoc., 121 F.R.D. 284 (N.D.
                 Tex. 1988);
              b. Local Civil Rules of the United States District Court for the Northern District of
                 Texas;
              c. the Texas Lawyer's Creed; and
              d. the Texas Rules of Professional Conduct.



                                                          IV.
                                                   CONCLUSION

          WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Court find that

Defendant did not affirmatively ignore any order of this Court or violate any legal or ethical

requirements for practice in the Northern District of Texas, refrain from sanctioning Defendant,

dismiss this action due to Plaintiff's failure to comply with this Court's Order, and for any other

relief for which this Court finds Defendant to be justly entitled.




   3
       Plaintiff's counsel filed a Motion to Withdraw (Doc. 15) on February 18, 2020.



                                                        -4-
   Case 4:19-cv-00370-P Document 16 Filed 02/18/20                            Page 5 of 6 PageID 108


                                                          Respectfully submitted,

                                                          /s/ Hope Zimlich Miranda
                                                          B. Kyle Briscoe
                                                          State Bar No. 24069421
                                                          kbriscoe@ peavlerbriscoe .com
                                                          Hope Zimlich Miranda
                                                          State Bar No. 24084146
                                                          hmiranda@peavlerbriscoe.com
                                                                  I
                                                          PEAVlER BRISCOE
                                                          2215 Westgate Plaza
                                                          Grapevine, Texas 76051
                                                          214-999-0550 (telephone)
                                                          214-999-0551 (fax)
                                                          ATTORNEYS FOR DEFENDANT



                                                    SWORN VERIFICATION

   STATE OF TEXAS                            §
                                             §
   COUNTY OF TARRANT                         §

       Before me, the undersigned authority, did personally appear Hope Zimlich Miranda who,
upon her oath, deposes and says that she is one of the attorneys of record for Defendant, that
she has never been convicted of a disqualifying crime, and that she is over the age of 18 and
competent to make this verification. Accordingly, Hope Zimlich Miranda verifies that the facts
alleged in Sections I and II of the foregoing motion are within her personal knowledge and are
true and correct.




                                                                            iranda



         Subscribed and sworn to before me on this 18th day of February, 2020.




    p:;1,~'ty, ,        STEPHANIE MACDONALD
    (Lf~'t: ·~·fi§ Notary Public, State of Texas
    (' ' :'.'· ·   .·~~ Comm . Exp1res 11-20-2021
                                                          N~~~fte~xas
     L:_;j~;~''"          Notary ID 131357315.




                                                           - 5-
   Case 4:19-cv-00370-P Document 16 Filed 02/18/20               Page 6 of 6 PageID 109



                                   CERTIFICATE OF SERVICE

        hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to and in accordance with the Federal Rules of Civil
Procedure on February 18, 2020.

                                            /s/ Hope Zimlich Miranda
                                            Hope Zimlich Miranda




                                             -6-
